BETO R. AGU|RRE. Assoclaie
CQNN|E C. F|ELDER, Assoc|aie
JOE E. CHEANEY. Assoclaie

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/\gulrrc é' i>atterson, nc.

 

 

REAL EST-ATE APPRA|SERS

JOE W. PATTERSON, |VlA|, SRA

CHR|S THOMFSON. Associaie
EL|ZABETH RUBiO, Associata

B|LLY G. DOYLE, Assoc\aie BRIAN K. PAYNE, Associaio

KlM E. RANSON, Aesoclate GR|SELDA GUERRERO, Assoc|aia
T|SH KEAT|NG, Associaie CAREN RAM|REZ. Associale
JAlME J. AGU|RRE, Associaie JULE K|RBY. Assaclaie

 

October 1 3, 2014

Mr. Rene Campos

PHARR-SAN JUAN-ALAMO |SD
601 East Ke|ley Avenue

Pharr, Texas 78577

RE: Retros`pective Appraisai Report of the Textloook Building located at 714 E. US Business
Highway 83, Pharr, Texas 78577.

Dear Mr. Campos:

in accordance with your request, we submit an appraisal report of the above referenced
property, which is identified on page 1 1 of the attached report. The property was inspected on
September 29, 2014.

The purpose of the appraisal is to provide the appraisers' opinion of the retrospectin market
value estimate of the sub|ect property as of the effective date indicated In the appraisal and
according to the definitions contained ln the written report and subiect to the Underlying
Assumptions and Limiting Conditions contained herein. This appraisal ls intended to conform to the
generally accepted appraisal standards as evidenced by the Uniform Standards of Protessiona|
Appraisal Practice.

As a result of the appraisal and analysis, it is the appraisers' opinion that the retrospective
market value et the sublect, as of February 1, 2012, excluding FF&E, was as follows=

FOUR HUNDRED AND THiRTY THOUSAND DOLLARS
(4$430,000.00)

Based upon the appraisers' analysis of past events assuming a competitive and open market, the
appraisers estimate a reasonable marketing period for this type of property at the market value
estimated in this report to not exceed twenty-four months.

Based upon the appraisers" analysis ot past events assuming a competitive and open market, the
appraisers estimate a reasonable exposure period for this type of property at the market value
estimated in this report would not have exceeded twenty-tour months.

3315 NORTH MCCOLL RD. ' M_CALLEN, TX 78501'(_956)686-4532 ' FAX (956) 686-6011
EMA|LZ JPATTERSON@AGUIRREANDF’ATTERSON,COM

|RENE B. THOMPSON, Associate

 

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inter National Bank
October 13, 2014

The supporting data and the analysis and conclusions upon which this value is based are contained
in the accompanying report.

Resp.ectfully submitted,

Q-§ l; g lhw@»wngw)

 

Joe Patters'on, MAl, SRA irene B. Thompson
Presldent, 1'~)(-1 3.21595-6 A`ssociate, TX-] 336175'_-(3
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-»Appraisal Report of the Textbooi< Bullding

 

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CERT|F|CAT|ON

i certify that, to the best of my knowledge and beiief:

/
»/

\

The statements of fact contained in this report are true and correct.

The reported analyses, opinions, and conclusions are limited only by the reported assumptions
and limiting conditions and are my personai, impartiai, and unbiased professional analyses,
opinions, and conciusions.

| have no present or prospective interest in the property that is the subject of this report and no
personal interest with respect to the parties lnvoived.

i have no bias with respect to the property that is the sublect of this report or to the parties
involved with this assignment

My engagement in this assignment was not contingent upon developing or reporting
predetermined results.

My compensation for completing this assignment is not contingent upon the development or
reporting of a predetermined value or direction in value that favors the cause of the client, the
amount of the value opinion, the attainment of a stipulated resuit, or the occurrence of a
subsequent event directly related to the intended use of this appraisa|.

i have not performed an appraisal related service of the subiect property within the three years
prior to this assignment

The reported analyses, opinions, and conclusions were developed, and this report has been
prepared, in conformity with the requirements of the Code of Professiona| Ethics & Standards of
Prote_ssionai Appraisai Practice of the Appraisai institute.

The reported analyses, opinions, and conclusions were developed, and this report has been
prepared, in conformity with the Uniform Standards of Professi.onal Appraisai Practice.

The use of this report is sub|ect to the requirements of the Appraisai institute relating to review
by its duly authorized representatives.

l have (or have not) made a personal inspection of the property that is the sub|ect of this report.
No one provided significant real property appraisal assistance to the persons signing this
certification

As of the date of this report, Jo.e W. Patterson, MAi, SRA has completed the continuing
education program of the Appraisai institute.

M __Dld_x_md NotPhys-t<;clly

 

Joe Patte_rs_on, MAl, SRA inspect the Property
.TX-13_21595-G
Signed: October 13, 2014

bow@tw@eo

_X_Did_Did Not Physicaiiy

 

irene B. Thompson inspect the Property
'TX-1336175»G
Signed: October 13, 2014

 

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Appraisai Report of the Textbook Buiiding

 

 

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SUMMARY OF lMPORTANT DATA

TYPE PROPERTY: Existing Educationa| Buiiding
LOCAT|ON: 714 E. US Business Highway 83, Pharr, Texas 78577

DESCR|PT|ON: The subject consists of a building that is commonly referred to as the Textbook
Buiiding. The apprgisgr's value estimate is for the building__th|y. No land component is
included in the retrospective value opinion. The building was originally constructed of brick
veneer over concrete block perimeter wa|is, on a grade~i'eve| concrete slab foundation with
a modified built-up roof in the i960's or 1970'5. The exact date is unknown. The interior of
the building was partitioned into approximately 9,2i2 square feet of air conditioned
classroom area; and 4,557 square feet of automotive/maintenance shop area. it is
understood that the subiect building was not in use as of the effective date.

S|TE S|ZE= N'ot applicable At the request of the ciient, the appraiser's retrospective value opinion
includes the building value oniy.

ZON\NG: PSJA (schooi use).
RETROSPECilVE MAR|<ET VALUE OPiNiON .............................................................................. $430,000.00
EFFECT|VE DATE OF RETROSPECTIVE MARKET VALUE OP|N|ON ................................. February i, 2012

COMMENTS REGARD|NG EFFECT|VE DATE: The client has requested the appraisers provide a
retrospective value opinion of the subiect building. A Retrospective Vaiue is defined as "a
value opinion effective as of a specified historical date. The term does not define a type of
vaiue. lnstead, it identifies a value opinion as being effective at some specific prior date."1

PRESENT USE/USE APPR_A|SED¢ As of the effective date, the subject was improved with a
classroom/shop building. The appraisers' value estimate reflects the highest and best use.

MARKET|NG PER|OD: With adequate advertising, exposure and aggressive marketing, the
appraisers estimate the marketing period not to exceed twenty~four months. This is based
primarily on marketing data presented in the Mu|tipie Listing Service and the appraisers'
knowledge of this particular submarket.

EXPOSURE PER|OD= Based upon the appraisers' analysis of past events assuming a competitive
and open market,' the appraisers estimate a reasonable exposure period for this type of
property at the market value estimated in this report would not have exceeded twenty-four
months.

TERMS: Typica| terms would be iO% to 30% down,~ 5% to iO% interest rate,~ amortized over a
period of 15 to 30 years; term of 3 to 30 years.

 

' The Diuiionary of Real Estafe Appraising, Sth Edition, The Appraisai |nstitute= Chicago, iL, 20i0.

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Appraisai Report of the Textbook Bui|ding

 

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suMMARY or iMPoRTANt DATA (coniinued)

ENV|RONMENTAL CONCERNS: The appraisers have been informed that the sub|ect building had
asbestos containing material as of the effective date of the retrospective value opinion.
According to an Asb`.estos Survey Report dated May 9, 201 l, conducted by Envirotest, Ltd.
A'CM was discovered in the HVAC insulation Mastic, the floor tile and mastic, the exterior
vapor barrier, and the exterior transite panels. The asbestos-containing material was
reported to be in good condition and considered non-friable. An assumption is made by the
appraisers that as of the effective date, the condition of the ACM was the same.

OWNERSH|P H|STORY= According to the Hida|go County Appraisai District, the current owner of
record is PSJA iSD. The subiect does not appear to have changed ownership not been listed
`tor sale through the local MLS within the past three years. The further information was
discovered by the appraisers in the normal course of business.

PERSONAL PROPERTY: This appraisal does not include furniture, tixtures, or equipment in the
market value estimate. The exclusion of these items is estimated to have no impact on the
market value estimate. The appraisal does not include any intangible items such as
trademarks or good w||l.

TAXES: The subject property is owed by a tax exempt entity.

MARKET TRENDS: Signs of recent sales activity and increased lending indicate that the local real
estate market is recovering from a sta‘gnant economic climate. This trend of recovery is
expected to continue.

PERT|NENT lNFORMAT|ON: No environmental study as of the effective date was provided.

STATEMENT OF COMPL|ANCE: This appraisal is intended to conform toy generally accepted
appraisal standards as evidenced by the Unito'rm Standards of Professional Appraisai
Practice.

STATEMENT OF COMPETENCV: The appraisers have a total ot over 59 years experience in the
real estate appraisal business, which includes the appraisal of similar pro|ects; therefore,
have attained the necessary knowledge and experience to competently complete this
assignment (Se'e Qualifications).

DATA SOURCES: Sources used in investigating comparables sales include local multiple listing
services, national commercial property listing services, lenders, realtors, deed records,
builders, developers, title companies, individuals and other appraisers.

lNCOME PROPERTY PROV|S|ON: Not applicable

CONT|NGENCY PROViSiON: The appraisers certify that their compensation is not contingent upon
the reporting of a predetermined value or direction in value that favors the cause of the
client, the amount of the value _estimate, the attainment of a stipulated result, or the
occurrence of a subsequent event. Fu_rthermore, this appraisal assignment is not based on a
requested minimum valuation, a specific valuation, or the approval of a loan.

 

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Appraisai Report ot the Textbool< Building

 

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SUMMARY OF |MPORTANT DATA (contlnued)

DlSCOUN'T|NG PROCESS: The discounting process is only considered applicable whom l) the
subiect is proposed construction and it is estimated that the construction will take over six
months to complete; 2) the subiect is partially leased and the absorption period is estimated
to be more than six months; 3) the subiect ls being leased at other than market rent; or 4)
the subiect is a large proiect with several unsold units. The discounting process not deemed
necessary in the valuation of the subject property.

STATEMENT CONCERN|NG DlSABiLlT|ES ACT: The Americans with Disaloilities Act ("ADA") became
effective January 26, l992. The appraisers have not made a specific compliance survey
and analysis of this property to determine whether or not it is in conformity with the various
detailed requirements of the ADA. lt is possible that a compliance survey of the property,
together with a detailed analysis of the requirements of the ADA, could reveal that the
property is not in compliance with one or more of the requirements of the Act. if so, this fact
could have a negative effect upon the value of the property. Slnce the appraisers have no
direct evidence relating to this lssue, possible noncompliance with the requirements of ADA in
estimating the value of the property has not been considered.

CENSUS TRACT: According to the U.S. Geological Survey Department, the subject is located in
Census Tract 214.0i, Hidalgo County, Texas.

FLOOD DESlGNA`i'iON': The appraisers are not experts in determining the flood zone designation
for the sub|ect. No responsibility is assumed on our part for accurately determining the
subiect’s flood zone. |f an official survey or fiood designation certificate is not provided, the
appraisers estimate flood designation based on available FEMA flood maps and/or
recorded subdivision maps. Because some of the information may be inconclusive, the
opprai'sers’ opinion of value is predicated on the assumption that the flood zone indicated
herein is correct. According to FiRM Pano|` No. 4=80347 0005 C, revised October 19, 1982,
the subject is located within flood zone “B" (subiect to survey), which is NOT a special flood
hazard area.

PROPERTY lNSPECTlON DlSCLAlMER'= The appraisers are not licensed property inspectors. An
inspection conducted by an appraiser is not the equivalent of an inspection by an inspection
professional such as a structural engineer or a licensed property inspector. The extent of
the appraiser's inspection process is an aspect of the scope of work, and may vary based
on assignment conditions and the intended use of the assignment results. The appraiser's
inspection is limited to those thing-s readily observable without the use of special testing or
equipment The Appraiser has inspected as far las possib|e, by observcttion, the
improvements and |and; however, it was not possible to personally observe conditions
beneath the soii or other hidden components. No representations are made herein as to
these matters unless specifically stated and considered in the report.

DATE OF THE REPORT: The assemblage of the descriptions, analysis, and conclusions occurred on or
about October i 3, 2014, and is considered the date of the report.

 

 

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PREFACE

An appraisal ls a type of research into the laws of probabilities with respect to real estate
transactions. The insurance industry can reliably predict that out of so many exposures a certain
number of losses will occur. They, of course, cannot predict the exact insured on whom this loss will
fa|l. The appraiser can predict the general real estate market with much greater certainty than he
can the value of a specific piece of property.

The appraiser who estimates market value of a particular property is merely stating his
opinion of what such property most likely will bring in dollars if lt ls exposed for sale on the open
market allowing a reasonable time for buyers to inspect and investigate before making their offers.

Through the appraiser's e.ducatlon, training, experience, and integrity he is able to relate
how sellers and buyers have acted in the past into a forecast of how they most likely will act to the
particular property in question. Because each particular property ls different and unique, he must
by necessity make adiustments in making comparisons to arrive at his final conclusions.

An appraisal does not necessarily set the price to be paid. lt should be used to form a
basis of negotiation between owner and prospective purchaser or between lender and borrower or
between condemnor and condemnee.

This appraisal is not guaranteed lt cannot be proven. if the property brings the estimated
value herein, or if a mortgage ls predicated thereon, or if a settlement ls made as a result of such
estimated value, it merely means the parties concerned agreed with the appraiser. The parties
may disagree and this does not disprove the estimated value. it merely means a difference of
opinion.

Prices paid and awards made often reflect sentiment, compassion, sympathy, blas, poiltics,
personal interest, specific needs, lack of understanding and other factors not considered by the
impartial appraiser. The final opinion of value is the result of a professional opinion and analysis of
a considerable quantity of physical and economic facts. The methods used in the analysis are
explained in the appraisal report. The reader is invited to draw his own conclusions in the event of
a difference of interpretation of the facts within the report.

This appraisal ls made subie_ct to certain basic assumptions, definitions and limiting

conditions These should be read by the reviewer.

 

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Appraisai Report of the Textbook Building

 

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PREM|SES OF THE APPRAISAL

ldentiiicgtion of the Prop§rty_
The subject property consists of the building commonly known as the Textboo|< Bui|ding which
is located at 714 E. US Bus-iness Highway 83. The land is not included in the Retrospect_ive Value

Opt`nion,- therefore there is no specific legal description

Pro ert Ri ittsA i

This appraisal requires that the ownership of the subject property include ali rights to title
that may be legally owned. Such ownership is termed "fee simp|e" and said ownership is the
property rights appraised in this report, excluding oil, gas and other mineral rights and subject to

easements of record.

int cl ithe raisal
The intended use of this appraisal is for client use in resolving a legal matter pertaining to

the subject building improvements

intended U§§r of the Apprqi§,a_l
The intended user of the appraisal is the PSJA independent School District.

§ggpe gt the Appraisai

At the client's request, an appraisal report of the subject property is prepared which
conforms to generally accepted appraisal standards as evidenced by the Uniform Standards of
Protesslonai Appraisai Practice promulgated by the Appraisai Standards Board ot the Appraisai
Foundatlon and the Guide Notes to the Standards of Proiessiona| Appraisai Practice adopted by
the Appraisai institute. Per agreement with the client, the appraisers' engagement includes the
toil`owing: perform a physical inspection ot"the subject property as of the current date; examine
photographs and demolition plans depicting the subject as of February i, 201 2,~ analyze data such
as demographics, supply and demand, property size, location and zoning;- perform a highest and
best use analysis ot the subject property; consider all approaches to value and complete the
applicable approaches to value, of which the income C'apitalization Approach and the Sales
Cornparison Approach to value are considered applicable and include research and analysis of

comparable improved sales and rental data, vacancy and occupancy rates, operating expenses,

 

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Appraisai Report of the Textbook Buliding

 

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PREM|SES OF THE APPRA|SAL (continued)

and discount rates; and, analyze and correlate the data and present the conclusion and opinion of

retrospective market value in a narrative appraisal report format.

Mgrket Vaige Dgfingg

The most probable price which a property should bring in a competitive and open market
under all conditions requisite to a fair sa|e, the buyer and seller each acting prudently and
knowledgeab|y, and assuming the price is not affected by undue stimulus. implicit in this definition is
the consummation of a sale as of a specified date and the passing ot title from seller to buyer
under conditions whereby:

i. Buyer and seller are typically motivated.

2. Both parties are weil informed or well advised, and acting in what they consider
their best lnterests.

3. A reasonable time is aliowed tor exposure in the open market.

4. Payment is made in terms of cash in United Stat.es dollars or in terms of financial
arrangements comparable thereto.

5. The price represents the normal consideration for the property sold unaffected by
special or creative financing or sales concessions granted by anyone associated with
the saie.

Sources: The Office of the Comptrolier of Currency i2 C.F.R., Part 3'4, Subpart C-i Appraisais 34~
42 Detinition (g); and, The Code of Federai Regu|ations, Tlt|e 12', Chapter ii|, Subchapter B, S'ect.
323.2(9)

 

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LlM|TiNG CONDIT|ONS AND ASSUMPT|ONS

By this notice, ali persons and firms reviewing, utilizing or relying on this report in any manner bind
themselves to accept these assumptions and limiting conditions. Do not use this report if you do not
so accept. These conditions are a part of the appraisal report, they are a preface to any
certification, definition, fact or analysis, and are intended to establish as a matter of record that the
appraiser's function is to Provide a present market value indication for the subject property based
upon the appraiser's observations as to the subject property and real estate market. This appraisal
report is an economic study to estimate value as defined in it. it is not an engineering, construction,
legal or architectural study nor survey and expertise in these areas, among others, is not impiied.

l. LlM|T OF LiABiLiTY:

The liability of the Patterson firm and employees and affiliated independent contractors is limited
to the client only and to the fee actually received by appraiser (totoi per appraisai). Further, there
is no accountaioility, obligation, or liability to any third party. if this report is placed in the hands of
anyone other than client, the client shall make such party aware of ali limiting conditions and
assumptions of the assignment and related discussions The Appraiser is in no way to be responsible
for any costs incurred to discover or correct any deficiencies of any type present in the property,~
physicai|y, financiai|y, and/or legally. ln the case of limited partnerships or syndication offerings or
stock offerings in real estate, client agrees that in case of lawsuit (brought by lender, partner or
part owner in any form of ownership, tenant, or any other party), any and all awards, settlements
of any type in such suit, regardless of outcome, client will hold Appraiser completely harmless in any
such action.

2. COP|ES, PUBL|CAT|ON, DlSTR|BUTiON, USE O.F REPORT:

Possession of this report or any copy thereof does not carry with it the right of publication, nor may
it be used for other than its intended use; the physical report(s) remain the property of the
Appraiser for the use of the client, the fee being for the analytical services oniy.

The Bylaws and Regu|ations of the American institute of Rea| Estate Appraisers of the Nationa|
Association of Realtors require each Member and Candidate to control the use and distribution of
each appraisal report signed by such Member or Candidate; except as hereinafter provided', the
client may distribute copies of this appraisal report in "its entirety to such third parties as he may
select; however, selected portions of this appraisal report shall not be given to third parties without
the prior written consent of the signatories of this appraisal report. Neither all nor any part of this
appraisal report shall be disseminated to the general public by the use of advertising media, public
reiations, news, sales or other media for public communication without the prior written consent of
appraiser. (See last item following this list for client agreement-consent).

3. CONF|DENT|AL|TY:

This appraisal is to be used only in its entirety and no part is to be used without the whole report.
A|i conclusions and opinions concerning the analysis as set forth in the report were prepared by the
Appraiser(s) whose signature(s) appear on the appraisal report, unless indicated as "Review
Appraiser". No change of any item in the report shall be made by anyone other than the
Appraiser and/or officer of the firm. The appraiser and firm shall have no responsibility if any
such unauthorized change is made.

 

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Appraisai Report of the Textbook Buiiding

 

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LiMlTlNG CONDlT|ONS AND ASSUMPT|ONS (continued)

The Appraiser may not divulge the material (evaluation) contents of the report, analytical findings
or conclusions, or give a copy of the report to anyone other than the client or his designee as
specified in writing except as may be required by the American institute of Rea| Estate Appraisers
or the Society of Real Estate Appraisers as they may request in confidence for ethics enforcement,
or by a court of law or body with the power of subpoena.

4. TRADE SECRETS:

This appraisal was obtained from Aguirre and Patterson, lnc. or related companies and/or its
individuals or related independent contractors and consists of "trade secrets and commercial or
financial information" which is privileged and confidential and exempted from disclosure under 5
U.S.C. 552 (b) (4). Notify the Appraiser(s) signing report or an officer of Aguirre and Patterson,
lnc., of any request to reproduce this appraisal in whole or part,

5. |NFORMAT|ON USED:

No responsibility is assumed for accuracy of information furnished by work of or work by others, the
client, his designee, or public records. We are not liable for such information as the work of
possible subcontractors Be advised that some of the people associated with Aguirre and Patterson,
lnc. and possibly signing the report are independent contractors. The comparable data relied upon
in this report has been confirmed with one or more parties familiar with the transaction or from
affidavit or other source thought reasonabie; ali are considered appropriate for inclusion to the
best of our factual judgment and knowledge. An impractical and uneconomic expenditure of time
would be required in attempting to furnish unimpeachable verification in ali instances, particularly
as to engineering and market~re|ated information. it is suggested that the client consider
independent verification as a prerequisite to any transaction involving sale, lease, or other
significant commitment of funds to the subject property.

6. TEST|MONY, CONSULTAT|ON, COMPLET|ON OF CONTRACT FOR APPRAiSAL SERV|CE:

The contract for appraisal, consultation or analytical service is fulfilled, and the total fee is payable
upon completion of the report. The Appraiser(s) or those assisting in preparation of the report will
not be asked or required to give testimony in court or hearing because of having made the
appraisa|, in full or in part, nor engage in post appraisal consultation with client or third parties
except under separate and special arrangement and at additional fee. if testimony or deposition
is required because of any subpoena, the client shall be responsible for any additional time, fees,
and charges regardless of issuing party.

7. 'Exnisn'st

The sketches and maps in this report are included to assist the reader in visualizing the property
and are not necessarily to scale. Various photos, if any, are included for the same purpose as of
the date of the photos. Site plans are not surveys unless shown from separate surveyor.

8. LEGAL, ENG|NEER|NG, FlNANC|AL, STRUCTURAL, OR N\ECl-lANiCAL NATURE i~llDDEN
COMPONENTS, SO|L:

The appraiser and/or firm have no responsibility for matters legal in character o'r nature, nor of
any architectura|, structural, mechanical, or engineering nature. l\io opinion is rendered as to the
title', which is presumed to be good and merchantable. The property is appraised as if free and
clear, unless otherwise stated in particular parts of the report. The legal description is assumed to

 

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LlM|T|NG CONDlTlONS AND ASSUMPT|ONS (continued)

be correct as used in this report as furnished by the client, his designee, or as derived by the
Appraiser.

Please note that no advice is given regarding mechanical equipment or structural integrity or
odequacy, nor soils and potential for settlement, drainage, and such iseel< assistance from qualified
architect and/or engineer) nor matters concerning iiens, title status, and legal marketability isee|<
legal assistance], and such. The lender or owner may wish to require mechanical or structural
inspections by qualified and licensed contractor, civil or structural engineerf architect, or other
expert.

The Appraiser has inspected as far as possible, by observation, the land and the improvements;
however, it was not possible to personally observe conditions beneath the soil or hidden structura|,
or other components. W'e have not critically inspected mechanical components within the
improvements and no representations are made herein as to these matters unless specifically stated
and considered in the report. The value estimate considers there being no such conditions that
would cause a loss of value, The land or the soil of the area being appraised appears firm,
however, subsidence in the area is unknown. The Appraiser(s) do not warrant against this condition
or occurrence of problems arising from soil conditions.

The appraisal is based on there being no hidden, unapparent, or apparent conditions of the
property site, subso|i, or structures or toxic materials, which would render it more or less valuabie.
The appraiser and firm have no responsibility for any such conditions or for any expertise of
engineering to discover ihern. Aii mechanical components are assumed to be in operable condition
and status standard for properties of the subject type. Condit|ons of heating, cooling, ventilating,
electrical and plumbing equipment is considered to be commensurate with the conditions of the
balance of the improvements unless otherwise stated. No iudgrnent may be made by us as to
adequacy of insulation, type of insulation, or energy efficiency of the improvements or equipment,
which is assumed standard for sub[ect age and type.

if the Appraiser has not been supplied with a termite inspection, survey or occupancy permit, no
responsibility or representation is assumed or made for any costs associated with obtaining same or
for any deficiencies discovered before or after they are obtained. No representation or
warranties are made concerning obtaining the above mentioned items.

The Appraiser has no responsibility for any costs o_r consequences arising due to the need, or the
lack of need for flood hazard insurance. An Agent for the Federai Fiood insurance Program should
be contacted to determine the actual need for Fiood Hazard insurance.

9. LEGAL|TY OF USE=

The appraisal is based on the premise that, there is full compliance with ali applicable federai,
state and local environmental regulations and laws unless otherwise stated in the report; further',
that ali applicable zoning, building, use regulations and restrictions of ali types have been complied
with unless otherwise stated in the report; further-, it is assumed that ali required iicenses, consents,
permits, or other legislative or administrative authority_. ioca|, state, federal and/or private entity or
organization have been or can be obtained or renewed for any use considered in the value
estimate.

 

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L|M|TiNG COND|T|ONS AND ASSUMPT|ONS (continued)

iO. COMPONENT VALUES=

The distribution of the total valuation in this report between land and improvements applies only
under the existing program ot utilization. The separate valuations for land and building must not
be used in con|unction with any other appraisal and are invalid it so used.

l i. AUX|L|ARY AND RELATED STUD|ES:

No environmental or impact studies, special market study or analysis, highest and best use analysis
study or feasibility study has been requested or made unless otherwise specified in an agreement
for services or in the report.

12. DOLLAR VALUES, PURCHASlNG POWER:

The market value estimated, and the costs used, are as of the date of the estimate of value, A|i
dollar amounts are based on the purchasing power and price of the dollar as of the date of the
value estimate.

i3. |NCLUSlONS:

Furnishings and equipment or personal property of business operations except as specifically
indicated and typically considered as part of real estate, have been disregarded with only the real
estate being considered in the value estimate unless otherwise stated. in some property types,
business and real estate interests and values are combined

14. PROPOSED |MPROVEMENTS, CONDiTiONED VAi:UE:

improvements proposed, if any, on or ott-site, as well as any repairs required are considered, for
purposes ot this appraisal to be completed in good and workmanlike manner according to
information submitted and/or considered by the appraisers. in cases of proposed construction, the
appraisal is subject to change upon inspection of property after construction is completed This
estimate of market value is as of the date shown, as proposed, as if completed and operating at
levels shown and prolected.

15. VALUE CHANGE, DYNAM|C MAR|<ET, iNFLUENCES, ALTERAT|ON OF EST|MATE BY APPRA|SER:
The estimated market value, which is defined in the report, is subiect to change with market changes
over time; value is highly related to exposure, time, promotional effort, terms, motlvation, and
conditions surrounding the of.fering. The value estimate considers the productivity and relative
attractiveness of the property physically and economically in the marketplace

|n cases of appraisals involving the capitalization ot income benefits the estimate of market value
or investment value or value in use is a reflection of such benefits and Appraiser's interpretation of
income and yields and other factors derived from general and specific client and market
intor.mation. Such estimates are as of the date of the estimate of value; they are thus subiect to
change as the market and value is naturally dynamic.

The "Estimate of Market Vaiue" in the appraisal report is not based on whole or in part upon the
race, color or national origin of the present owners or occupants of the properties in the vicinity of
the property appraised.

 

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LlMlT|NG COND|T|ONS AND ASSUMPT|ONS (continued)

The appraisal report and value estimate is subject to change if physical or legal entity or financing
is different than that envisioned in this report.

io. MANAGEMENT OF THE PROPERTY:
lt is assumed that the property which is the sub|ect of this report will be under prudent and
competent ownership and management; neither inefficient nor super-efficient

i7. CONT|NU|NG EDUCAT|ON CURRENT=

The Appraisai institute conducts a voluntary program of continuing education for its designated
members; MA| and SRA Designates who meet the minimum standards of this program are awarded
periodic educational certification and,- MA|(s) signing the report is/are currently under this program.

18. FEE:

The fee for this appraisal or study is for the service rendered and not for the time spent on the
physical report or the physical report itse|f. Amount or payment of fee for services is not contingent
on any result, approval amount or other estimates or statements.

19. |NSULAT'|ON AND TOXlC MATER|ALS:

in this appraisal assignment, the existence of potentially hazardous material used in the construction
or maintenance of the building, such as the presence of urea-formaldehyde foam insulation, and/or
the existence of toxic material or waste, or other environmental hazards, which may or may not be
present on the property, has not been considered The appraiser is not qualified to detect such
substances We urge the user of this report to retain an expert in this field if desired. if such is
present, the value of the property may be adversely affected and, therefore, must be reappraised
at additional cost.

20. REV|EW:

Uniess otherwise noted herein, named review Appraiser of/tro_m Aguirre and Patterson, lnc. has
reviewed the report only as to general appropriateness of technique and format, and has not
necessarily inspected the sublect or market comparable properties

21 . CHANGES, MOD|F|CATIONS:

The Appraisers and /or officers of Aguirre and Patterson, inc., reserve the right to alter statements,
analysis, conclusions or any value estimate in the appraisal if there becomes known to us facts
pertinent to the appraisal process, which were unknown to us, when the report was finlshe_d.

22. FHLBB REGULAT'|ONS':

Federa| H°ome Loan Bank Board has special requirement for appraisals to be used by Savings and
Loan Associati`ons for some types of loans; this appraisal is not intended t_o be used for such unless
specifically stated otherwise in the report. Any additional research, analysis, and report writing
may be undertaken at a later date upon client request at additional fee for time and costs.

23. AFTER TAX ANALYS|S AND/OR VALUA`i'-|ON=

Any "after" tax income or investment analysis and resultant measures of return on investment are
intended to reflect only possible and general market considerations, whether as part of estimating
value or estimating possible returns on investment at an assumed value or price paid; note that the

 

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LlMlTlNG COND|T|ONS AND ASSUMPTlONS (continued)

Appraiser(s) does not claim expertise in tax matters and advises client and.any other using the
appraisal to seek competent tax advice as the Appraiser ls in no way to be considered a tax
advisor or investment advisor.

24. ACCEPTANCE OF, AND/OR USE OF, TH|S APPRAISAL REPORT BY CL|ENT OR AN‘( TH|RD
PARTY CONST|TUTES ACCEPTANCE OF THE ABOVE COND|T|ONS. APPRA|SER LiABlLiTY EX-TENDS
ONLY TO STATED CL|ENT, NOT SUBSEQUENT PART|ES OR USERS OF ANY TYPE, and the total
liability of appraiser and firm is limited to the amount of fee received by Appraiser.

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PHARR ClTY ANALYS|S

§§§n§rgl
The City of Pharr, established in i909, is located in the lower Rio _ __
Grande Val|ey in Hidalgo County, Texas, approximately i50 miles south of Pharr-
resewi‘
natural resources, physical attributes, agricultural, and commercial trends that ml"gmmr'acm
the rest of the Lower Rio Grande Vailey experiences. ` y
Encompassing an area of approximately 20 square miles, the ___

topography of the City and surrounding area is fairly level with an average 2006

     

Cor-pus Christi and 140 miles southeast of Laredo. Pharr enjoys all the same

elevation of 108 feet above sea level. The average annual temperature is 73

degrees Fahrenheit.

Population Data & Growth Statistics

' e er t
Accorcling to the U.S. Census Bureau, the _ Avem_g T_e}_mp a gres-

   
   

. was \ __ __ __
population or Pharr in 2010 was 70,400, q 50.9% sr term
ear _ _, _
increase from 2000 figures which indicated 46,660 ;c.-F. ' " minn
persons. All indicators are for the population for E:: n M
Pharr to continue to increase. _q@_v,~` _
WF uS-svcra§o

The City of Pharr is located within the am _. _.|____ ___ __
McA|len~Mission~Edinburg MetrO.polltan Statisticai `;»' "’a;“'Fel_’ '*YB"`-""p""“"f'l"“ 'J“i *`““3 gap °'“‘ l`l°“ w
Area which is defined by the US Census Bureau as consisting of the County of Hida|go. From 1990
to 2000, Hidalgo County indicated a 48.5% growth rate, which was the 7"‘ fastest growing county
in the state of Texas. The 2010 census figures are reporting 774,769. persons, which is a 36.1%

increase from 2000 figures.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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PHARR ClTY ANALYS|S (continued)

Emn|ovment Activitv 34 SOUrceS
The maior employers of the city are government, including the local school system, followed
by retail trade, followed by the health care tield. Other employers include produce and citrus

shippers and accommodation and food services.

I_r_qnsgortgtian

Pharr is located at the intersection ot the two main highways into and through the Va|iey,
U.S. i'iighway 281 which runs north/south and leads directly into Mexico to the south, and San
Antonlo to the north, and U.S. Expressway 83 which runs east/west and leads directly toward
Laredo to the west and Brownsviiie t_o the east. A Valiey bus line provides ample public
transportation locaiiy. The area is served by the Missouri Pacific and Southern Pacific Raiiroads,
which connect Corpus Christi and San Antonio with the Mexican rail system through Matamoros,
Mexico. Pharr is only five minutes from Miller international Airport in McAiien, (ad|acent to Pharr),
which handles air travel to Corpus Christi, Houston and San Antonio as well as international flights to
the interior of Mexico.

The only port of entry into Mexico within the Pharr city limits is the Pharr-Reynosa
international Bridge, connecting U,S. i~iighway 28i to the City of Reynosa. Constructed in 1994, the
Pharr international Bridge is one of the most technologically advanced border crossings in the
United States. GAMA Rays and Fast & Secure Trade program, known as FAST are implemented by
both the U.S. and Mexican Customs, which allows an expedited inspection ot documents and cargo,
and limits crossing time on the U.S.~Mexican borderl As a resuit, the Pharr Bridge is quickly
becoming 'a primary industrial port. As the bridge continues to draw more and more _attention,
development of industrial parks located in the southern sector of Pharr, and the surrounding areas is

expected to continue to |ncrease.

MM§§

The sami-tropical climate and ample rainfall combine to make Pharr very attractive to
winter tourists and retirees, an industry that is growing at a steady rate. Recr.eationai facilities for
the area include tishing, boating and swimming in the Guit of Mexico (Padre lsiand) and Faicon
Lal<e, both some 65 miles from Pharr in opposite directions. There are many bird sanctuar-ies in the

Valley along with a fine zoo, botanicai gardens and parks. Go|f is a sport enioyed here at Pharr's

 

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PHARR ClTY ANALYS|S (continued)

P|antation South Go|f Course. The City of Pharr has fine parks, an Olympic--slzed swimming pooi,
stadium and gymnasium. The Pharr Recreation Department offers a variety of programs for the
city's youth, including soccer, basebail, basketba||, track and tield, goif, tennis, bal|et, guitar,
karate, etc. There are at least nine churches within the City of Pharr, many of which organize

additional community events and outreach programs

indg§trig| Development

The City of Pharr is encouraging industrialization with the establishment of the several
industrial parks located on South U.S. Highway 281 near the site ot the Pharr international Brldge.
The Pharr Economic Development Corporation, a non-profit organization, has had a positive impact
on drawing in business and industry development into the Pharr»Reynosa area and was responsible
for developing three industrial parks, the Pharr industrial Par-i'<, the Capote industrial Par|<, and
Keystone industrial Fari<, and has recently begun construction on a fourth industrial development, the
Pharr Produce District which is expected to be completed in 2014. The southern area of Pharr has

witness significant industrial growth in the past five years as a result.

§_c.h_QQ_|§

Pharr is within the Pharr, San Juan and Alamo independent Schooi District` which has 26
elementary schools, 8 middle schools, 4 high schools, and 5 alternative schools. Totai enrollment is
over 31,000 students. `Of these schools, 14 elementary, 4 middle schools, and 2 high schools are
situated within the City of Pharr. The University of Texas Pan American is located in the nearby
City of Edinburg, approximately 7 miles from Pharr; and, South Texas Coilege is located within the
City of McAilen, approximately 1 1 miles away.

Government

Pharr operates under a city manager, mayor and city council form of government it has a
police force, a paid and volunteer fire department, and in-. addition, supplies the usual city services
of water, sewer, garbage, and trash pickup. The zoning ordinance that has been adopted is the
Southern Standard Buildlng Code. No rent controls are in effect. The city has public housing
proiects, which are well managed. The city receives two percent sales tax revenue. This is bringing

an increasing amount every year and this revenue has been one reason property taxes have

 

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PHARR ClTY ANALYS|S (continued)

remained stable in spite of higher city costs. The City has been politically stable over the past

years and has responded weil to the demand for municipal services.

i;log§ing Deveiogment

-Tourists and retirees are rapidly adding to the local people's demands for housing and ali
supporting facilities. in the City of Pharr, within the past few years, we have seen the development
of mobile home parks, apartment houses, new condominium proiects and numerous single-family

subdivisions. Demand is thus evidenced for various types of real estate.

_E_ggggrnic indicgtors

The MetroMonitor, has been tracking the economic recession and recovery in America's 100
largest metropolitan areas. According to recent reports, “by the fourth quarter of 2012 only 14
metro areas_-six of which are in Texas_~had fully recovered their pre-recession employment ievels.
They were= Austin, Charleston, Daiias, Ei P-aso, Houston, l(noxviiie, McAiien, Oi<lahoma City, Omaha,
Pittsburgh, San Antonio, San Jose, and W¢:tshington.”2

CNN Money, among others have identified the McAiien MSA as one of “Amerlca's Most
Recession-Proof Cities" and according to the Council for Community and Econornlc Research in
January 2012, the McAiien MSA was identified as the 4th least expensive city in the United States
to live in, with a cost of living index of 15.5% below the national average.

The McAiien Chamber of Commerce publishes the McAiien Area Economic Pulse which
measures the economic activity for McAiien, Mission, Pharr, and Edinburg in the following areas:
retail saies, motor vehicle saies, lodging tax receipts, airline boarding, construction permits, new
home permits, horne sal'e.s, average home sale price, Hldaigo bridge crossings, peso exchange rate,
wage and salary empioyment, and unemployment The data from the Chamber further supports
the trends witnessed in sales tax and building permits, that being a trend for a tempered recovery.

The Chamber's report is provided on the following pages.

 

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PHAR'R ClTY ANALYS|S (continued)

 

 

 

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INDEX (Base=l{tf) l an 1996)
'I`he economic indicators on pg. 2 are used to formulate the overall economic pulse.

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PHARR ClTY ANALYSIS (cont}nued)

     
 
 
  

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PHAR»R ClTY ANALYS|S (continued)

 

Accordlng to the Texas Emp|oyment

 

Commission the unemployment rate for Pharr as of
May 2014 was 7.3%. The rate for Hidalgo
County for the some period was 8.6%. While the

 

 

 

county’s average annual lob|ess rate is higher than

 

 

 

 

the state average, this is typical of the loca|e.

Historically, unemployment rates increase in the

 

winter and summer months with a decrease in '_ 2_£1¢ ,t§!#rr;j°t d
unemployment typically seen in the fall and spring. This is attributed to seasonal decreases within
the educatlona| institutions related to the summer break and/or agricultural harvest perlools;
however, the national economic condition has in general resulted in higher rates than what was
observed in 200_8.

The Labor Market and Career information Depar_tment of the Texas Worl<force Commlssion
examines and provides statistics For various metropolitan statistical areas'. Th_e LMC|'s sna psth for

the McA||en-Eo|inburg-Mlssion MSA is presented on the following page.

 

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PHARR ClTY ANALYS|S (continued)

 

    

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PHARR ClTY ANALYS|S (continued)

mm r
|n review we conclude the foilowing:
l. Pha rr enjoys the benefits of a very productive agricultural region.

2. The mild climate and plentiful recreational facilities are encouraging a rapidly increasing
tourist trade.

3. A pientitul work force and aggressive industrial recruiting are encouraging industriaiization.
4. The city is stable politically and ample educational opportunities are availabie.
5. The City ot Pharr is growing in population, In retail sales and in size and can be expected to

widen its economic base, continue to grow at an increasing rate, and property values to
increase in tune with the city growth.

6. Pharr's international Bridge along with implementation of NAFTA should enhance growth in
virtually ali aspects ot its economy.

 

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ClTY OF PHARR MAP

 

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Appraisai Report of the Textbooi< Building

 

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SUBMARKET ANALYS|S

According to the Appraisai lnstitute, The Dr`ctionary of Reai Estate Appraisal, Fifth Edition, a
submarket is a division of a total market that reflects the preferences of a particular set of buyers
and sellers. According to definition, the submarket is considered to be the land along both sides of
US Business Highway 83, bound by Cage Bouievard on the west and Veteran's Bou|evard (".i" Road)
on the east.

US Business Highway 83 is a secondary highway running through the business districts of
many of the main cities in Hidalgo County. Cage Boulevard (US Highway 281) is the main
north/south commercial traffic artery running through the center of the City of Pharr. Veterans
Bou|evard (l Road) is a north/south traffic artery. Access to and through the submarket is good due
to a network of paved feeder streets.

The submarket is located in the eastern sector of the City of Pharr and is characterized as
mixed commercial and industrial development, backed by established residential development in
the western sector.

Commercia| facilities are typically owner occupied. Vacancies appear iow, even during the
economic downturn in 2009, demonstrating excellent population support for commercial interests in
the area.

Property values have remained stable throughout the past few years and supply/demand
appears to be in balance with a marketing time of approximately i2-24 months depending on type
of property and siz_e. Cur~rent market indicators are for steady improved activity for the remainder
of 2014. Pub|ic transportation is limited, Emp|oyment opportunities, schools, and recreational
facilities are readily available throughout the submarket. There are no apparent adverse factors
affecting marketability.

indicators are for continued improved activity through 2014 and with continued population
growth, development in the area should be steady in the years to come. The submarket appears

economically stable at present.

 

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SUBMARKET MAP

       
         

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SiTE ANALYS|S

Not Appiicab|e. At the client's request, the land component has not been included in the

appraisers' retrospective value opinion.

 

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DESCR|PTlON OF |MPROVEMENTS

Qegergi Dg§gription

The subiect property consists of a detached building oniv. At the request of the client, thc- land
compongnt is not included in the retrospective vglug opinion.

The subject building is commonly referred to as the Textbook Bu|lding. This building contains
a total gross building area of approximately i3,770 square feet. According to the information
availabie_, the building was constructed in the 1960'5 or i970's. Constructton is of concrete block
perimeter walls with brick veneer on a grade-level concrete slab foundation with built-up roof cover
over metal panels over steel frame. The interior of the building as of the effective date was
partitioned into approximately 9,212 square feet of air-conditioned classroom and restroom area;
and 4,557 square feet of automotive/maintenance shop area which was not oir~conditioned.

The appraisers estimate the subiect's effective age to be 30 years with a total economic life

of approximately 40 years.

Spg§ifi§ Con§truction Descri;:_)tion:

Foundation: Reinf`orced, grade-level concrete slab and beam system

Exterior Walis: CMU perimeter walls faced with brick veneer, minimal commercial grade windows,
commercial grade doors, gutters and downspouts.

Roof Structure: Buiit-up roof cover over pre-engineered metal panels over steel frame

Fiooring: VCT flooring for classroom/restroom areas; concrete subfioor for shop area

interior Wa|ls: Painted/textured drywali, wood doors, metal door iambs, vinyl base board trim for
finished areas; exposed CMU for shop area

Ceiiinge Suspended tile with fiorescent lighting for finished areas; exposed frame for shop area

HVAC: Eiectrlc HVAC for classroom/restroom areas; no heating/cooling -for shop area

Eiectrica|: Adequate service, wiring, outiets, and fixtures

Plumbing: Adequate service, supp'iy, and average quality fixtures

Property inspection Disciaimer: The appraiser is not a licensed property inspector. The Appraiser has
inspected as far as possible, by observation, the land and the improvements; however, it was not
possible to personally observe conditions beneath the soil or hidden structural, or other components We
have not critically inspected mechanical components within the improvements and no representations are

made herein as to these matters unless specifically stated and considered in the report.

 

 

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DESCR|PT|ON OF lMPROVEMENTS (continued)

Comments Reaardina Condltion of |mprcgc-Lne_nts and Envircnm§:_ntal Concerns

The appraisers have been informed that as of the effective date of the retrospective value
opinion the sub|ect building had known asbestos containing materials (ACM) in the HVAC insulation
mastlc, the floor tile and mastic, the exterior vapor barrier, and the exterior transite pane|s, as well
as certain hidden physical deficiencies that were not known as of the effective date of the
retrospective value opinion, but were discovered shortly thereafter.

With respect to the asbestos containing materials, it ls understood by the appraisers that the
asbestos containing material was in good condition and not considered friable. However, removal
of or altering the ACM would have required abatement and remediation by qualified
professionals The appraisers have been provided an estimated cost for abatement of
approximately $59,000.00

With respect to the hidden physical deficiencies, conditions known after the effective date
are considered relevant to the appraisal assignment Data known subsequent to the effective date
may be considered ln developing a retrospective value ln such instances where it is reasonable that
the data would be reasonably considered by a buyer or seller as of that date.3

To this end, it is considered reasonable that a typical buyer would have conducted due
diligence in the evaluation of the sub|ect improvements to determine any physical deficiencies This
due diligence would likely have included exploration into the structural components of the sub|ect
buildings and a adequately conducted investigation would have revealed the physical deficiencies
that existed at the time. These physical deficiencies include the following: no brick ties between the
brick veneer and the CMU perimeter walls, no water proofing on perimeter walls, and no insulation
on perimeter Wai|s.

An estimated cost to demolish and make necessary repairs was provided to the appraisers
and ls included herein an the pages that follow. The costs are for two adiacent buildings (the
sub|ect Textbook Bulldlng and the Textbook Building). Separatlng costs for the subject building only
indicates a cost of $332,5\0.00.

 

3 The Uniform Standards of Professiona| Appraisai Practice, The Appraisai Standards Board of The Appraisai
Foundation, Effective January i, 20,\4 through December 31, 2015, Statement 3: Retrospective Va|ue Opinions. 1
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Appraisai Report of the Textbook Bulldlng

 

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DESCR\PT|ON OF lMPROVEMENTS (contln'ued)

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DESCR|PT|ON OF lMPROVEMENTS (cont|nued)

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DESCR|PT|ON OF |MPROVEMEN-TS (continued)

 

 

 

 

 

 

 

 

     

   
 

 

 

 

  

 

 

 

 

 

 

 

 

 

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DESCR|PTION OF |MPROVEMENTS (continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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DESCR|PT|ON OF |MPROVEMENTS (continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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suBJEcT PHOTOGRAPHS (continued)

 

 

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ANALYS|S AND STATEMENT OF HiGHEST AND BEST USE

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Highest and best use may be defined as the reasonable and probable legal use of vacant
land or an improved property that is physically possible, appropriately supported, and financially
feasible and that results in the highest value.

The theoretical focus of highest and best use analysis is on the potential uses of the land as
though vacant. ln practice, however, the contributory value of the existing improvements and any
possible alteration of those improvements are also important in determining highest and best use
and, by extension, in developing an opinion of the market value of the property.

The first definition applies specifically to the highest and best use of land or site as though
vacant. lt is to be recognized that in cases where a site has existing improvements on it, the highest
and best use may very weil be determined to be different from the existing use. The existing use
may represent an interim use, which begins with the land value for the new highest and best use
and adds the contributory value of the current improvements until the new highest and best use can
be achieved.

An additional implication is that the determination of highest and best use results from the
appraiser's judgment and analytical skill. The use determined from analysis represents an opinion,
not a fact to be found. in appraisal practice the concept of highest and best use represents the
premise upon which value is based._

The first type of highest and best use - highest and best use of land or a site as though
vacant - assumes that a parcel of land ls vacant or that it can be made vacant through the
demolition of any improvements The auestion to be answered in the analysis of this type of highest
and best use is-; if the land is (or was) vacant, what use should be made of it? That is, what type of
building or other improvements (if any) should be constructed on the land? When a property’s
highest and best use can reasonably be forecast to change in the near future, the prevailing highest
and best use ls considered an interim use. For instance, the highest and best use of a farm in the
path of urban growth would be interim use as a farm, with its future highest and best use as a
potential residential subdivision. in certain cases, an appraiser's conclusion is that the highest and
best use of a parcel of land is to be held vacant until price appreciates.

The second type of highest and best use - highest and best use of a property as improved -
pertains to the use that should be made of the property, as it exists. Should a 30-year-old hotel

building be maintained as it is, renovated, expanded, partly demolished, or any combination of

 

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ANALYS|S AND STATEMENT OF HlGHEST AND BEST USE (continued)

these? Or should it be replaced with a use different in type or intensity? The use that maximizes
the investment property's net operating income (NO|) on a long~term basis is its highest and best

USe.

App|tcatlgn

Highest and best use analysis builds on the conclusions of market/marketability analysls.
The analysis of the land as though vacant focuses on alternative uses, with the appraiser testing
each reasonably probable use for i) legally permissibility 2) physically possibility, 3) financially
feasibility, and 4) maximaiiy productivity. in contrast, the appraiser applies the four tests in the
analysis of the property as improved, but the focus is not on alternative uses but on three
possibilities: continuation of the existing use, modification of the existing use, or demolition and
redevelopment of the land. These criteria should usually be considered sequentially; lt makes no
difference that a use is financially feasible if it is physically impossible to construct an improvement
or if such a use ls not legally permitted. Only when there is a reasonable possibility that one of the
prior unacceptable conditions can be changed ls lt appropriate to proceed with the analysis. th
Appraisai of Regl §§tgt§, Thirteenth Addition).

i) Legally Permissiblez The subiect property ls zoned for school use by the City of Pharr.
The surrounding land use patterns are mixed residentia|, commercia|, and light industrial in nature.

2) Physically P'osslble: Although no land is included in the retrospective value opinion, it is
assumed that sufficient site area would be available for either residential, commercial, or light
industrial use.

3) Flnancial|y Feasible: The amount of net lncome, which can be produced, should exceed
the combined operating expenses, financial expenses, and capital amortization

As of the effective date of the retrospective value opinion, the subiect building was not
occupied and was used primarily for storage. With respect to the highest and best use, the
appraisers must consider if marketable alternate uses are economically feasible considering the
condition of the subject improvements.

Genera|ly speaking, possible alternate uses for classroom buildings include but are not
limited to offices, child and adult day care centers, charter schools, churches, fitness centers, rehab

facilities, call centers, manufacturing buildings, or warehouse storage. The use that is most likely to

 

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ANALYS|S AND STAT'EMENT OF HlGHEST AND BEST USE (continued)

be considered takes into consideration the existing condition of the improvements as of the effective
date, and specifically the cost involved in converting the subiect building to one of the alternate
uses. |n other words, the question to be answered with respect to highest and best use is "what use
would a buyer consider?" ln this regard, two options exist for a buyer= acquire the building in its
existing condition and make no improvements, or invest capital to convert the building into a
particular use,

As of the effective date, the building (aith'ough originally designed for classroom use) was
unoccupied and primarily utilized as storage. |ndeed, storage would be a use that would require
little to no capital investment This use would not require repair of the physical deficiencies nor
would lt require an asbestos abatement and remediation.

With regard to any of the other uses, however, the existing condition and more specifically
the ACN\ and physical defects that are likely to have been discovered by a prudent buyer, would
be taken into consideration. The cost for abatement was approximately $59,000.00 The cost to
cure the physical defects was approximately $332,510.00. Combined these costs result in an
estimated cost of approximately $28.43 per square foot. in addition to this cost, an investor
looking to convert the sub[ect building into say a day care center would need to invest this capital in
addition to the cost for necessary finish-out of the interior into the desired alternate use.

lt is the appraisers' opinion that given the age of the building such an investment would not
be considered economically feasible. As such, uses that would require the repair of the physical
deficiencies or ACM abatement are eliminated. Of the possible alternate uses for classrooms, the
only option which would be considered financially feasible would be the use that requires no
significant capital investment As such, use as warehouse storage is considered financially feasible.

4) Ma-ximally Productive: Among the financially feasible uses, the use that provides the
highest rate of return, or value, is the highest and best use. The appraiser estimates the maximally

productive use of the subject is for warehouse storage use.

Highest & Best Use - As improved
lt ls the appraisersl opinion that given the current condition of the building, the highest and

best use of the subiect building would be for warehouse storage use,

 

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APPRAISAL PROCESS

An appraisal is an estimate of value; it is an opinion of value. its accuracy depends on the
basic competence and integrity of the appraiser and on the soundness and skill by which he
processes the data. The professional appraiser seeks current facts and seeks to be practical. The
appraiser's opinion must be without bias. As with other types of "marl<ets" the real property
appraiser does not make the market, but rather interprets the market.

The three classic approaches to value, namely the Cost Approach, the income Capltalizatlon
Approach, and the Sa|es Comparison Approach, each discussed separately beiow, are all
comparative approaches in that the basic data comes from direct comparisons in the market, indirect
comparisons in the market, and/or the app raiser's judgment which is based on market experiencel

ln the Cost Approach, the cost to reproduce the property at the date of the appraisa|, less an
appropriate allowance for depreciation (physica| deterioration, functional obsolescence, and
economic obsolescence) is made by market comparisons of cost and depreciation. The Cost Approach
is frequently applied to special-purpose or specialty properties, or other properties that are not
frequently exchanged in the market or for which there is not sufficient comparable market data. The
subject is not new construction or special purpose, and deprecatlon exceeds 75%. As such, the Cost
Approach is not considered to provide a reliable indication of value.

in the income Capitaiization Approach, the projected operating experience is estimated from
comparable market data. Gross rental schedules, vacancy and collection losses, fixed expenses,
operating expenses, and reserves are estimated and result in an estimate of net income. This net
income is converted to an estimate of value by a capitalization process. The capitalization rate
(interest rate and recapture rate) is based on demonstrated rates found in the market. The method
and technique of capitalization is determined by the nature of the property in the market.

in the Sales Compar.ison Approach, the subject property is compared to sales of properties
within the similar highest and best use. The sales are analyzed to bring out similar characteristics to
common denominators. Such common denominators may include number of units, number of rooms,
square feet, front feet or a gross rent multiplier. Where necessary, adjustments are made to allow
for differences of date of sale, location, size of property, and other factors. The Sales Comparison

Approach is developed within this appraisal.

 

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lNCOME CAPITAL|ZAT|ON APPROACH

Deflnitign and §gopg

The income Capitaiization Approach is defined as .foiiows: "The income capitalization
approach to value consists of methods, techniques, and mathematical procedures that an appraiser
uses to analyze a property's capacity to generate benefits (i.e., usually the monetary benefits of
income and reversion) and convert these benefits into an indication of present value."“ The process of
discounting income expectancies to a present worth estimate is called "capitaiization". This present
worth estimate, the result of the capitalization process, is the amount that a prudent, typically
informed purchaser would be willing to pay at a fixed time for the right to receive the income

stream produced by a particular property.

St sin A i the ln ome it liza?ion A roa
ln order to produce a reliable value estimate through the income Capitaiization Approach,

the appraiser will attempt to develop the following four basic steps=

i. Estimate the Potentiai Gross lncome;

2. Estimate allowances for vacancies and other losses to determine the Ef'fective Gross |ncome;
3. Estimate the Operating Expenses to determine the Net Operating income,- and

4. Select the appropriate capitalization process in order to determine the final value estimate.
§Ontrggt light

The sub|ect property is owner occupied.

§;ornpgrglgie Rgntgl Datg
A survey of comparable properties is considered appropriate The following rent
comparab|es represent the most recent, most similar rents available and are presented in order to

estimate the market rent for the sub|ect property.

 

4 Appraisai lnstitule, The Appraisai of Reai Estaie, Thirteenth Edition, 2008, pg 445.

 

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INCOME CAPlTALlZAT|ON APPROACH (continued)

 

COM`PARABLE RENT #l

Locotiom l 108 A|brac| Avenue, Pharr, Texas

Descrlptl'om An approximate 12,000 square ll‘c:»ot grade level metal warehouse partitioned for
dual-tenant use. The improvements were constructed ln oppro)<lmately 1998. Overall
average rent is $0.38 per square foot on a trlp|e net lease basis. LTB ratio 3.7:1.

Lessor: .lMA Enterprises, lnc.

Lessee: ESP Pétro Che'mlcols, lnc. and Odesso Pumps and Equipm'ent, Ltc|.

 

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lNCOME CAP|TAL|ZAT-lON APPROACH (continued)

 

RENT COMPARABLE #2

Locotion: 1209 E. Jasmine Avenue, McAiien, Texas

Descriptlon= Singl.e¢story., block and steel mu_lti-tenont office/warehouse; built new in 2001 ;
approximately `7,`800 square feet tota|; 35% office area; renting for an average of $'0.63 per
square foot per month on a gross lease basis. Lanc| to building ratio = 2.8:1.

Lessor= Juan Monuel Gorza

Lessee: Advantc\ge DME, |nternotlonul Company of Marb|e, and |nterceramic Tile & Stone.

 

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|NCOME CAPlTAL|ZAT|ON-APPROACH (continued)

 

RENT CON\PARABLE #3

Location: 920 Ferguson Avenue, Pha rr, Texas

Descriptiorn An approximately 6,000 square foot grade-level metal warehouse; effective age of 10
years; average condition and quality; currently renting for $0.58 per square foot per month on
a triple net lease basis. Land to building ratio = 6.4:1.

Lessor: Wilkins lnvestments, Ltcl.

Lessee: JD Krane F|oorlng

 

 

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lNCON\E CAP|TALlZATlON APPROACH (continued)

Comparable Re`nt Grid

Sub|e_ct: The Textbook Bul|ding

 

_.Ad_iue_tment' _ S.ubieot

Rent/SF $0.38 $0.63 $0.58

SF Size 13,770 12,000 7,800 6,000
0% 0% 0%

Age 30 Eft. 10 Eff. 10 Eff. 10 Eff.
~\20% -20% -20%

Quality 67% 23% CC 35% CC 35% CC

climate control 7% 3% 3%

Lease NNN NNN NNN

0% 0% O%

Net Adiustments _
Adi. Va|ue/Sq_-F.l

   
  

»13% _ _ -17% .17%

 

Ex | n i n f stment

Three comparable facilities are presented. The rents presented indicate an adjusted rental
rate between $0.33 to $0.52 per square foot per month on a triple net lease basis. Ad|ustments
are based on paired analysis tempered by the appraisers' knowledge of the market area. Age is
adlusted based on the effective age of the subiect and comparab|es at 1% per _year. Qua|ity
adjustment recognizes overall construction quality and additional climate control area. The

comparab|es are considered equal in other factors.

 

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lNCOME CAP|TAL|ZAT|ON APPROACH (continued)

G'reatest weight is accorded the approximate mean of the range, with $0.43 per square foot
on a triple net lease basis deemed reasonab|e. The subiect‘s potential gross income is estimated as

follows:

Sub|ect Property

13,770 Sq. Ft. @ $0.44 per Sq. Ft. = $6,058.80
x 12 months
Annual Potentiai Gross income $72,705.60

Aii_o_wance for Vacgngy ggg §;ollggtlgn Loss
Vacancy and collection losses for the subiect are estimated at 10%. Rates for industrial
space throughout the area are reported at a range from 5% to 15% by NAl Rio Grande Vai|ey

and ReaityRates.com.

Operat|ng Expenses

A historical accounting of actual expenses was not available. The appraisers have conducted
a market study of operating expenses for similar facilities. |n a triple net lease scenario, tenants pay
a base rent, utilities, taxes, and insurance. The lessor is responsible for maior exterior maintenance,
le_gai/ accounting fees, vacancy/ loss collection, and reserves for replacements. The operating
expenses are listed as follows:

Taxes - Annual taxes for the subject are estimated based assessments for properties of similar age
with similar highest and best use, Taxes are the responsibility of the tenant in a triple net lease
scenario. An allowance of $1,000.00 per year recognizes the vacancy factor.

insurance - Fire and extended coverage insurance is primarily the responsibility of the tenant in a net
lease scenario and is considered as such in the appraisal of the subject insurance is estimated based
on an estimated annual cost of approximately $3,3 00.00 per year. An allowance of $3300.00 per
year is deemed reasonable recognizing the vacancy factor.

Property Management & Adminlstration - The management fee is estimated to be approximately 5%
of the effective gross lnconte. Property managers in the area typically charge from 2% to 10% for
management fees, with the high end usuain charged for smaller properties Management fees are
estimated based on investment potential from an absentee landlord position.

Maintenance - T:his item is an allowance for exterior repairs, needed maintenance ltems, yard care
etc. and is typically negotiated in as many different manners as there are ieases. An allowance of
$3,5000.00 is deemed reasonab|e.

 

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iNCOME CAP|TAL|ZAT|ON APPROACH (continued)

Utilities - These expenses are estimated for water/sewer/trash coilection. Typicaily the responsibility
of the tenant, an allowance of $i ,500.00 is considered for the vacancy factor.

Legal/Accounting ~ This expense is estimated for bookkeeping, etc. and is based on competing
comparable facilities. An allowance of $l,OO0.00 per year is within a range considered to be
typical for this item.

Reserves for Replacements - This account is established to replace short-lived items of real estate such
as roof, flooring, ceilings, plumbing, eiectrical, parking, air conditioners, etc. Reserves for
replacements are estimated at $0.30 per square foot or $4,100.00 per year based survey data
obtained through RealtyRates.com.

Proigt§g O,Qerating Statement

Potentiai Gross Annual income $ 72,705.60
Less Vacancy & Coiiection Loss iO% - 7,270.56
Effective Gross income $ 65,435.04

Less Annual Expenses:

Taxes $ i ,000.00

insurance 330.00

Management 5% 3,'271.75

Maintenance 3,500.00

Utilltie_s i,500.00

Legal/Accounting i,OO0.00

Reserves for Repiacements 4,i O0.00

Totai Expenses 22.5% $ i4,70i .75
Net Operating income $ 50,7,33.29

ga pita|i;gtiog Angly§is

Capitaiization is the process of discounting net operating income to a present worth estimate.
The capitalization rates at which income expectancies are discounted are influenced by the thinking
and action of investors i`n the market place and conditions in the mortgage market.

The purchaser~investor must be compensated for giving up the use of his funds, for not
choosing alternative investment opportunities, for undertaking the burdens of investment management,

and for assuming the risks that actual income receipts will not materialize as forecasted. This

 

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lNCOME CAP|TAL|ZAT\ON APPROACH (continued)

necessary compensation is reflected in rates of capitalization or discounting determined largely by
market competition. Because income receipts are normally forecast for a finite period, the purchaser-
investor seeks a competitive return on the investment (representing the required compensation
enumerated above) and a return of capital at the end of the pro|ection period.

An overall rate of capitalization is the annual rate that expresses the relationship between net
operating income and sale price. it contains provisions for a return on investments as weil as
provisions for capital recovery. The overall rate is utilized in "Direct Capitalization" which is applying
the rate directly to the net operating income. The result is a value indication.

An overall capitalization rate may be developed through various techniques The two most
frequently used by this appraiser are: (i) Comparative or Market Method and i2) Yie|d investment
Method.

Whenever market data permits, it is best to avoid complex methods of income capitalization
and use instead the Comparative or Market Meth'od with an Overail Rate. The data requirements for
the use of the Market Method of Capitaiiz`ation are as follows:

l. Saie prices of similar competitive properties sold to the same type ot" purchaser-investor in
arm's length open market transactions under market conditions similar to those affecting the
sub|ect property;

2. Properties with essentially the same physical and location characteristics as the sublect (age,
condition, site~improvements, etc.);

3. $|miiar terms of financing;

4. $lmilar terms of saie;

5. income streams with the same risk and stability characteristics and the same income prolection;
and,
6. A similar capital recovery period and method of capital recovery.

Because ot the potential complexities of income Capita|ization Anaiysis as a mechanical
process, it is sometimes possible to lose sight of the fact that the basic valuation formula is both simple
and straightforward Essentiaiiy, investment analysis boils down to an inter-relation of three essential
variables. They are as follows=

l = Net Operating income

R = Overali Rate (Capitalization Rate)

 

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lNCOME CAP|TAL|ZAT|ON APPROACH (continued)

V = Va|ue

The relation among these variables is as foilows:

All other complications arise from the frequent necessity of deriving R indirectly and in part,
However, it is possible to develop R directly through market evidence or the Direct Method of
Capitalization. Aside from producing a value estimate more readily explained to a layman, the

appraiser minimizes the risk of technical mechanical errors in calculations.

Mortaaae and Eauitv Band of investment Canitalization

Sometimes an overall capitalization rate cannot be derived directly from the market.
Stringent data requirements must be met and most properties are purchased with debt and equity
capitai. An overall capitalization rate can be estimated if you satisfy the market return requirements
of both debt (mortgage) and equity (owner‘s interest after all claims and liens have been satisfied).
Lenders anticipate loaning with a competitive interest rate commensurate with the perceived risk of
the investment of they will not make funds availab|e. Lenders generally require that the loan
principle be repaid through periodic amortization payments. Equlty investors anticipate receiving a
competitive equity cash return. The return is commensurate with the perceived risk or they will invest
their capital elsewhere.

The mortgage capitalization rate (RM) is the ratio of annual debt service to the principal
amount of the mortgage loan. The rate established at inception of a mortgage is called the
mortgage constant. The annual mortgage constant for a new loan is calculated by multiplying each
period’s payment by the number of payments per year and then dividing this amount by the amount
of the loan. it should be noted that the mortgage capitalization rate (RM) differs from the mortgage
interest rate (YM).

The mortgage capitalization rate is a function of the interest rate, the frequency of
amortization, and the amortization term of the loan. lt is the sum of the interest rate and the sinking
fund factor.

The equity investor seeks a cash return. The rate used to capitalize equity into income is
called the equity capitalization rate (RE). lt is the ratio of the annual equity dividend to the amount of n

equity investment For appraisal purposes, a property's equity capitalization rate is the anticipated

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